                     1:08-cr-10036-MMM-JAG # 59        Page 1 of 4
                                                                                         E-FILED
                                                              Monday, 18 March, 2019 09:32:54 AM
                                                                    Clerk, U.S. District Court, ILCD

                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                             PEORIA DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

vs.                                                  Case No. 08-cr-10036

ROOSEVELT HAMLIN,

             Defendant.

      GOVERNMENT’S POSITION REGARDING SENTENCE REDUCTION
         PURSUANT TO SECTION 404(b) OF THE FIRST STEP ACT

        Now comes the United States of America by John C. Milhiser, United

States Attorney and Patrick D. Hansen, Assistant United States Attorney and

submits the following for the Court’s consideration in determining whether, and

to what extent to reduce the sentence of Roosevelt Hamlin. This Court has set the

matter for telephonic hearing on April 3, 2019.

        1.   The parties jointly filed a motion recognizing that the offense for

which Mr. Hamlin was convicted is a “covered offense” under the First Step Act

of 2018, Pub. L. No. 115-391, § 404, 132 Stat. 5194, 5220 (2018). (d/e 57) Therefore,

Mr. Hamlin is eligible for a reduction of his sentence.

        2.   The government submits that if the Fair Sentencing Act of 2010, Pub.

L. No. 111-220, § 2, 124 Stat. 2372, 2372 (2010), were in effect at the time of the

crime charged in this case, Mr. Hamlin, as a career offender under Chapter 4 of

                                           1
                    1:08-cr-10036-MMM-JAG # 59        Page 2 of 4




the U.S. Sentencing Guidelines, would have a guideline range of 262-327 months

of imprisonment. The mandatory minimum sentence would be lowered from life

imprisonment to 10 years under 21 U.S.C. § 841(b)(1)(C)(iii) as the offense

involved more than 28 grams of crack, but less than 280 grams.

      3.     The motion also correctly states that Mr. Hamlin is currently serving

a sentence of 236 months. It is notable that this is lower than the current, adjusted

sentencing guideline range, but substantially higher than the mandatory

minimum penalty.

      4.     The defendant has served approximately 126 months to date.

Remarkably, he has experienced no disciplinary issues while in the Bureau of

Prisons, and does not appear to pose a danger upon his release.

      5.     Should this Court agree with the defendant and order a sentence at

or close to “time served,” the government respectfully requests that the Court

add 10 days to the “time served” to allow the Bureau of Prisons to appropriately

process Mr. Hamlin’s release.

      WHEREFORE, the United States of America respectfully requests that this

Court reduce the sentence of imprisonment for Mr. Hamlin to an amount




                                          2
                    1:08-cr-10036-MMM-JAG # 59       Page 3 of 4




sufficient, but not greater than necessary to comply with the purposes set forth in

18 U.S.C. § 3553(a), and to revise the term of supervised release to 6 years.

                                       Respectfully submitted,

                                       JOHN C. MILHISER
                                       UNITED STATES ATTORNEY

                                        /s/ Patrick D. Hansen
                                       Patrick D. Hansen
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                                         3
                    1:08-cr-10036-MMM-JAG # 59      Page 4 of 4




                          CERTIFICATE OF SERVICE


      I hereby certify that on March 18, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following: Thomas D. Patton.

                                      /s/ Patrick D. Hansen
                                      Patrick D. Hansen
                                      Assistant United States Attorney




                                         4
